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                                           BACKGROUND

         1.      For years, LPI was engaged in the business of acquiring life insurance policies

  known as viatical settlements or life settlements. Generally speaking, viatical settlements and life

  settlements involve the holder of a life insurance policy selling his or her interests in a life

  insurance policy to a third party in exchange for a lump-sum cash payment less than the policy’s

  death benefit. LPI marketed and sold investment contracts relating to those policies to investors.

         2.      LPI’s marketing and business operations were successful in large part because of its

  intense efforts to create and to maintain a public perception that its investment products held the

  prospect of substantial returns. These efforts included a vigorous effort to silence and discredit

  any attempt to question LPI’s claims. These efforts were made by LPI, its affiliates, principals,

  and hundreds of sales agents. Thus, for example, when a media report suggested that LPI’s life

  expectancy projections were inaccurate, LPI engaged in a contra campaign to support those

  projections, point to returns generated when policies did mature, conceal the large number of

  policies that had not matured as represented, and thus to perpetually convince investors that the

  maturity of their policy was just around the corner. Similarly, when, in January 2011, the SEC

  announced that it was investigating LPI, a concerted and sustained effort to disparage the SEC was

  undertaken by LPI, LPHI, and their principals. LPI also initiated a “resale” program that bought

  out unhappy investors for a time. As lawsuits were filed, LPI spent millions of dollars opposing

  the various cases, including those discussed below, and was able to obtain a number of favorable

  rulings and considerable delays and thus drive up the costs of those working to oppose or expose

  LPI. Through these combined efforts, LPI was able to maintain its façade essentially throughout

  the litigation described below.



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         3.      In March 2011, the Arnold State Court Action was filed, alleging that LPI violated

  various federal and state securities laws, as LPI’s life settlement investments were securities that

  were not registered with either the Texas State Securities Board or the United States Securities and

  Exchange Commission and therefore LPI was selling unregistered securities. The Arnold State

  Court Action sought relief in the form of rescission pursuant to the Texas Securities Act § 33,

  along with attorneys’ fees, costs, and interest.    As indicated, this litigation, like others that

  followed, was vigorously opposed, and was at one point dismissed by the trial court.

         4.      After more than four years of litigation, in May 2015, the Texas Supreme Court

  held in the Arnold State Court Action that the agreements LPI used to solicit money from investors

  are “investment contracts” and therefore securities pursuant to the Texas Securities Act. Life

  Partners, Inc. v. Arnold, 464 S.W.3d 660 (Tex. May 8, 2015).

         5.      On January 20, 2015, LPHI filed a voluntary petition for relief under chapter 11 of

  title 11 of the United States Code (as amended, the “Bankruptcy Code”), thereby commencing its

  bankruptcy case captioned In re Life Partners Holdings, Inc., Case No. 15-40289-rfn11 (the

  “LPHI Bankruptcy Case”). On March 13, 2015, the U.S. Trustee appointed Moran as the Chapter

  11 Trustee in the LPHI Bankruptcy Case, and on March 19, 2015, the United States Bankruptcy

  Court for the Northern District of Texas (the “Bankruptcy Court”) affirmed Moran’s appointment.

         6.      On May 19, 2015, the Subsidiary Debtors filed their respective voluntary petitions

  for relief under chapter 11 of the Bankruptcy Code, captioned In re Life Partners, Inc., Case No.

  15-41995-rfn11 and In re LPI Financial Services, Inc., No. 15-41996-rfn11, thereby initiating their

  bankruptcy cases in the Bankruptcy Court (the “Subsidiary Bankruptcy Cases”). On May 22,

  2015, the Bankruptcy Court granted the Subsidiary Debtors’ request to jointly administer the LPHI



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  Bankruptcy Case and the Subsidiary Bankruptcy Cases (collectively, the “Bankruptcy Cases”).

         7.      The Arnold State Court Action was stayed due to the Bankruptcy Cases.

         8.      In the Bankruptcy Cases, LPI has claimed that it is the owner of the life insurance

  policies underlying the securities the Settlement Class Members purchased and that those policies

  are property of the bankruptcy estates. The Plaintiffs (as defined herein) dispute that the policies,

  their proceeds, or any rights to which the owners of such policies are entitled (including, without

  limitation, the cash surrender value of each such policy) are property of the bankruptcy estates

  pursuant to 11 U.S.C. § 541. This dispute is referred to herein as the “Ownership Issue.”

         9.      Lead plaintiff Philip Garner filed the Garner Class Adversary on July 19, 2015 in

  the Bankruptcy Court on behalf of a class of “All persons or entities who invested in viatical

  settlement or life settlement securities sold by LPI. Excluded from the Class are LPI, all affiliated

  Life Partners companies or entities and any individual who served as an officer, director, advisor,

  board member, or otherwise was employed by LPI, including but not limited to all insiders of

  LPI,” alleging that the class members were the equitable owners of the life settlement securities

  they purchased from LPI (including all death benefit proceeds), and that the securities held by the

  class members (including all death benefit proceeds) along with all other monies held in trust are

  not the property of LPI or its bankruptcy estate. The Garner Class Adversary sought relief in the

  form of a declaratory judgment pursuant to Federal Rule of Bankruptcy Procedure 7001, 28 U.S.C.

  § 2201 et seq., and 11 U.S.C. § 541. On July 31, 2015, a motion for class certification [Dkt. No. 8]

  was filed in the Garner Class Adversary.

         10.     Lead plaintiffs Michael Arnold, Janet Arnold, Dr. John Ferris, Steve South as

  trustee for the South Living Trust, and Christine Duncan, filed the Arnold Class Adversary on July



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  28, 2015 in the Bankruptcy Court on behalf of a class of “All persons or entities who invested in

  viatical settlement or life settlement securities sold by LPI. Excluded from the Class are [LPI], all

  affiliated Life Partners companies or entities and any individual who served as an officer, director,

  advisor, board member, or otherwise was employed by LPI, including but not limited to all

  insiders of LPI,” alleging that LPI’s life settlement investments were securities that were not

  registered with either the Texas State Securities Board or the United States Securities Exchange

  Commission, and therefore LPI was selling unregistered securities. The Arnold Class Adversary

  sought relief in the form of rescission pursuant to the Texas Securities Act § 33, along with

  attorneys’ fees, costs, and interest.

          11.     There was an unopposed Motion for Leave to File Consolidated Amended

  Complaint for the Garner Class Adversary and the Arnold Class Adversary filed on March 11,

  2016 (when this motion is granted, the resulting proceeding will be the “Consolidated Class

  Adversary”). The Consolidated Class Adversary is captioned South, et al. v. Life Partners, Inc.

  There also will be a Joint Motion to Withdraw the Reference for the Consolidated Class Adversary

  filed on March 16, 2016 (the “Motion to Withdraw Reference”).

          12.     LPI filed an answer to the Garner Class Adversary on August 18, 2015 [Dkt. No.

  10], and an answer to the Arnold Class Adversary on August 28, 2015 [Dkt. No. 8]. LPI denied

  that class treatment was appropriate and also denied that the relief sought in both the Garner Class

  Adversary and the Arnold Class Adversary was appropriate.

          13.     The Lead Plaintiffs, on behalf of the Plaintiffs, have filed Claim Nos. 18810,

  22128, 22662, 22670, 23205, and 23212 (the “Class Proofs of Claim”), and the Lead Plaintiffs

  individually have filed Claim Nos. 18813, 18987–19000, 19121–29, 19132, 19753–74, 22663,



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  23666, 23667, 23213, 23215, 23216, 23600, and 23601 (the “Lead Plaintiff Proofs of Claim”) in

  the Bankruptcy Cases.

         14.     Plaintiffs’ Counsel has filed Claim Nos. 23211 and 22661 (the “Plaintiffs’ Counsel

  Proofs of Claim”).

         15.     Counsel for the Parties, following preliminary correspondence and discussions over

  telephone, email, and in person, engaged in and conducted in-person settlement meetings among

  counsel, as well as additional correspondence and discussions over telephone and email from

  August 2015 through March 2016. Due to these settlement negotiations, and as part of a joint

  effort to conserve the resources of the bankruptcy estates and maximize the benefits to the

  Plaintiffs, counsel agreed to stay all deadlines in the Garner Class Adversary and the Arnold Class

  Adversary.

         16.     As a result of complex and protracted discussions, the following settlements were

  agreed to: (a) Term Sheet for Compromise to a Plan of Reorganization of LPHI, LPI, and LPIFS

  (Sept. 24, 2015) [Exhibit A to Dkt. No. 1032, filed Sept. 25, 2015] (the “Term Sheet”); (b)

  Debtors’ Expedited Motion for Interim and Final Orders (I) (A) Authorizing Debtors to Obtain

  Post-Petition Financing, (B) Granting Security Interests and/or Superpriority Administrative

  Expense Status; and (II) Granting Related Relief [Dkt. No. 958, filed Sept. 16, 2015] (the

  “Financing Motion”); (c) the Plan (as defined below); and (d) this Settlement Agreement.

         17.     Plaintiffs’ Counsel conducted extensive investigation relating to the claims and the

  underlying events and transactions alleged in the Consolidated Class Adversary.            Plaintiffs’

  Counsel has analyzed evidence adduced during its investigation and has researched the applicable

  law with respect to the claims Plaintiffs have asserted against LPI, as well as the potential defenses



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  thereto. Additionally, Plaintiffs’ Counsel’s efforts in the Arnold State Court Action were traceable

  and necessary to the ultimate resolution of the Consolidated Class Adversary because, inter alia,

  the issue of whether the Settlement Class Members’ investments with Debtors were securities, as

  that term is defined by the Texas Securities Act, is a prerequisite to determining the ultimate

  Ownership Issue and the right to rescission in the Consolidated Class Adversary.

         18.     Due to the complex nature of the issues involved, the Parties recognize that the

  outcome of the Consolidated Class Adversary is uncertain. The Plaintiffs have the burden of proof

  on some of the issues in the Consolidated Class Adversary, and LPI has the burden on others. The

  trial of the Consolidated Class Adversary would be lengthy and complex, adding to cost and

  potential delay. Importantly, the Plan cannot be formulated or confirmed without resolution of the

  Consolidated Class Adversary and the Ownership Issue. The interests of creditors of the Debtors

  are served if the compromise and settlement transactions contemplated in this Settlement

  Agreement (which resolves the Consolidated Class Adversary and the Ownership Issue) and the

  Plan are approved and implemented.

         19.     Based upon investigation, the circumstances surrounding the Bankruptcy Cases and

  the Consolidated Class Adversary, and the negotiation of the Term Sheet and the Plan, Lead

  Plaintiffs and Plaintiffs’ Counsel have agreed to settle the Consolidated Class Adversary pursuant

  to the provisions of this Settlement Agreement after considering such factors as: (a) the substantial

  benefits to the Settlement Class Members under the terms of this Settlement Agreement; (b) the

  attendant costs, risks, and uncertainty of litigation, including trial and potential appeals; (c) the

  benefit to all creditors, including the Settlement Class Members, arising from the implementation

  of the transactions contemplated by this Settlement Agreement and the Plan; (d) the distraction and



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  diversion of personnel and resources as a result of continuing litigation; (e) the desirability of

  consummating this Settlement Agreement and the Plan promptly; and (f) the current financial

  condition of the Debtors.

         20.     The Estate Representatives have performed extensive due diligence and conducted

  extensive analysis of the issues that are the subject of this Settlement Agreement and believe that

  the terms of this Settlement Agreement, and the corresponding terms of the Plan, are an exercise of

  the Trustee’s and the Subsidiary Debtors’ sound business judgment and in the best interest of the

  Debtors’ estates, their creditors, including the Settlement Class Members, and all other parties in

  interest, including, without limitation, the class of creditor interests represented by the Committee.

         21.     The Parties and their counsel negotiated the terms regarding the attorneys’ fees and

  the attorney releases provided for in paragraphs 46-52 below after reaching agreement regarding

  material terms of the Settlement Agreement. Plaintiffs’ Counsel has not received any payment for

  their services in the Consolidated Class Adversary or the Arnold State Court Action on behalf of

  the Lead Plaintiffs or the Settlement Class. In addition to the risk of non-payment that Plaintiffs’

  Counsel assumed in pursuing the Arnold State Court Action and the Consolidated Class

  Adversary, prior to the commencement of its Bankruptcy Case, LPI also moved for, and the state

  trial court entered an order granting, sanctions against Plaintiffs’ Counsel for asserting a frivolous

  lawsuit and sought an award of attorneys’ fees against Plaintiffs’ Counsel in an amount in excess

  of $360,000.00, which order of sanction subsequently was reversed and vacated after extensive

  litigation by Plaintiffs’ Counsel.

         22.     This Settlement Agreement is the product of sustained, arm’s-length settlement

  negotiations, including two day-long mediation sessions mediated by retired Federal Bankruptcy



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 Judge Richard Schmidt, and the Parties believe that the terms of this Settlement Agreement,

 including the provisions regarding the payment of attorneys’ fees to Plaintiffs’ Counsel are fair,

 reasonable, and adequate. Therefore, the Estate Representatives, joined by Lead Plaintiffs and

 Plaintiffs’ Counsel, will seek Court approval of this Settlement Agreement as set forth below.

        23.     This Settlement Agreement shall in no way be construed or deemed to be evidence

 of, or an admission or concession on the part of any Party, with respect to any claim of fault or

 liability or wrongdoing or damage whatsoever, or any infirmity in the defenses that any Party has,

 or could have, asserted. Any and all statements, representations, and findings herein regarding, or

 in any way related to the Plaintiffs and Plaintiffs’ Counsel (including, but not limited to, whether

 the Plaintiffs in the Consolidated Class Adversary can be certified as a “class” pursuant to

 Bankruptcy Rule 7023 or Federal Rule of Civil Procedure 23 or whether the Class Proofs of Claim

 can proceed on a “class” basis pursuant to Bankruptcy Rule 9014 or 7023) are made solely for the

 purpose of this Settlement Agreement, and shall not be deemed an admission or concession on the

 part of the Trustee or the Debtors; however, upon the Court’s entry of the Final Approval Order

 (as defined below) and the Confirmation Order (as defined herein), the stipulations,

 representations, and findings in this Settlement Agreement shall be final, conclusive, and binding

 on the Parties as among each other solely (i) to enforce or construct this Settlement Agreement and

 (ii) in any proceeding or matter in which the terms of this Settlement Agreement are at issue,

 subject to the reversal or modification of the Final Approval Order or the Confirmation Order on

 appeal and the rescission rights under the terms of this Settlement Agreement. The Parties

 recognize that the Consolidated Class Adversary was filed and defended in good faith and that the

 Consolidated Class Adversary is being voluntarily settled on terms that the Parties believe to be



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 reasonable considering the merits of the claims or defenses and taking into account the expense

 and uncertainty of continued litigation and the Bankruptcy Cases. This Settlement Agreement has

 resulted from extensive, good-faith, and arm’s-length negotiations among the Parties. The Parties

 agree that each has complied fully with the strictures of Federal Rule of Bankruptcy Procedure

 9011 and Federal Rule of Civil Procedure 11 and that no sanctions or other relief against any Party

 is warranted or appropriate under such circumstances.

        24.     NOW, THEREFORE, subject to the approval of the Bankruptcy Court and

 confirmation of the Plan, and in consideration of the agreements and releases and assignments set

 forth herein and other good and valuable consideration, and intending to be legally bound, the

 Parties agree that the Consolidated Class Adversary and all other claims of the Plaintiffs and the

 Settlement Class Members encompassed within the scope of this Settlement Agreement and as set

 forth in the Plan be fully, finally, and forever settled, compromised, released, or assigned, and that

 the Consolidated Class Adversary, the Arnold State Court Action, and all other proceedings

 described herein or in Appendix B be: (i) dismissed with or without prejudice, without costs to the

 Parties except as provided herein; and/or (ii) assigned to the Creditors’ Trust, as set forth herein,

 on the following terms and conditions:

                                              DEFINITIONS1

        25.     When used in this Settlement Agreement, unless otherwise specifically indicated,

 the following terms shall have the meanings set forth below:

        a.      “Amended Schedule F” has the meaning set forth in the Plan.


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   All other defined terms included throughout this Settlement Agreement shall have the meanings
 ascribed in this Settlement Agreement.



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        b.     “Assigning Position Holder” has the meaning set forth in the Plan.

        c.     “Class Notice” means the notice to the Settlement Class as shall be given in the

 form deemed sufficient by the Court.

        d.      “Confirmation Order” means the order of the Bankruptcy Court confirming the

 Plan pursuant to Bankruptcy Code section 1129.

        e.     “Continuing Fractional Holder” has the meaning set forth in the Plan.

        f.     “Continuing Position Holder” has the meaning set forth in the Plan.

        g.     “Continuing Position Holder Contribution” has the meaning set forth in the Plan.

        h.     “Court” means any court of competent jurisdiction, including but not limited to the

 Bankruptcy Court and the United States District Court for the Northern District of Texas.

        i.     “Creditors’ Trust” has the meaning set forth in the Plan.

        j.     “Current Position Holder” has the meaning set forth in the Plan.

        k.     “Days,” unless specified as “business days,” means all calendar days, including

 Saturdays, Sundays, and legal holidays, but if the last day of a period is a Saturday, Sunday, or

 legal holiday, the period continues to run until the end of the next day that is not a Saturday,

 Sunday, or legal holiday.

        l.     “Effective Date” means the first date by which all of the following have occurred:

 (1) no Party has availed itself of any right to withdraw from or terminate the Settlement that has

 arisen pursuant to paragraphs 39-40 herein; (2) the Court has entered the Final Approval Order; (3)

 the Court has entered a final Confirmation Order; and (4) the Plan Effective Date has occurred and

 the Plan has become effective in accordance with its terms. Neither the provisions of Rule 60 of

 the Federal Rules of Civil Procedure nor the All Writs Act, 28 U.S.C. § 1651, shall be taken into



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 account in determining the above-stated times.

        m.     “Final 9019 Order” means a Final Order approving this Settlement Agreement and

 authorizing, empowering, and directing the Parties to enter into and perform their respective

 obligations under and pursuant to this Settlement Agreement under Rule 9019 of the Federal Rules

 of Bankruptcy Procedure.

        n.     “Final Approval Order” means a Final Order approving the Settlement Agreement

 as fair, reasonable, and adequate pursuant to Federal Rule of Bankruptcy Procedure 7023 or

 Federal Rule of Civil Procedure 23.

        o.     “Final Order” has the meaning set forth in the Plan.

        p.     “Fractional Interest” has the meaning set forth in the Plan.

        q.     “Fractional Interest Holder” has the meaning set forth in the Plan.

        r.     “Fractional Position” has the meaning set forth in the Plan.

        s.     “Investment Contract” has the meaning set forth in the Plan.

        t.     “IRA Holder” has the meaning set forth in the Plan.

        u.     “IRA Partnership” has the meaning set forth in the Plan.

        v.     “MDL Plaintiffs” means the plaintiffs in the multi-district litigation captioned In re

 Life Partners, Inc. Litigation, MDL No. 13-0357 (Tex. Dist. Ct. Dallas Cnty., created Sept. 9,

 2013) identified on Appendix C, and limited to the capacity in which they are identified on

 Appendix C.

        w.     “New IRA Note” has the meaning set forth in the Plan.

        x.     “Objection Date” means the date by which Settlement Class Members must file any

 written objection or opposition to the Settlement Agreement or any part or provision thereof in the



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 Settlement Agreement as fair, reasonable, and adequate pursuant to Federal Rule of Civil

 Procedure 23 and/or Federal Rule of Bankruptcy Procedure 7023 and approving the sending of the

 Class Notice to the Settlement Class.

        gg.     “Pre-Petition Abandoned Positions” has the meaning set forth in the Plan.

        hh.     “Pre-Petition Default Amount” has the meaning set forth in the Plan.

        ii.     “Qualified Plan Holders” has the meaning set forth in the Plan.

        jj.     “Rescission Settlement Subclass” means the class to be certified for settlement

 purposes composed of:

        All persons or entities (including all IRAs and their respective individual owners
        and related IRA custodians) who purchased and hold, as of the Plan Effective Date,
        securities issued or sold by LPI (directly or in the name of any Original IRA Note
        Issuer) related to viatical settlements or life settlements, regardless of how the
        investments were denominated (whether as fractional interests in life insurance
        policies, promissory notes, or otherwise) and who are Current Position Holders
        under the Plan, regardless of whether or not a claim was filed by a class member.
        Excluded from the Rescission Settlement Subclass are LPI; all affiliated Life
        Partners companies or entities; Linda Robinson-Pardo; Paget Holdings Ltd.;
        investors whose only investments relate to Pre-Petition Abandoned Interests under
        the Plan; Qualified Plan Holders; and all persons and entities listed on Appendix A.

        kk.     “Rescission Settlement Subclass Member” (plural “Rescission Settlement Subclass

 Members”) means each person and entity who is a member of the Rescission Settlement Subclass.

        ll.     “Settlement Class” means, collectively, the Ownership Settlement Subclass and the

 Rescission Settlement Subclass.

        mm.     “Settlement Class Member” (plural “Settlement Class Members” or “Plaintiffs”)

 means each person and entity who is an Ownership Settlement Subclass Member or the Rescission

 Settlement Subclass Member.




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 9014, and incorporating Federal Rule of Civil Procedure 23, the Parties hereby stipulate that the

 requirements of Federal Rule of Civil Procedure 23(a) and 23(b)(2) are satisfied with respect to the

 Ownership Settlement Subclass defined in paragraph 25(z) and the Rescission Settlement Subclass

 defined in paragraph 25(ii).     The Ownership Settlement Subclass and Rescission Settlement

 Subclass shall each be certified as a mandatory subclass under Federal Rule of Civil Procedure

 23(b)(2), with no right of any Settlement Class Member to opt out of either subclass, including for

 the purposes of a class proof of claim and class voting of the class ballots to the extent provided for

 in paragraph 28; provided, however, that, in the event the Effective Date does not occur or this

 Settlement Agreement is later rescinded in accordance with its terms: (a) no class or subclass shall

 be deemed to have been certified by or as a result of this Settlement Agreement; (b) the Trustee and

 the Subsidiary Debtors shall not be deemed to have consented to the allowance or priority of any

 claim or the certification of any class; (c) the agreements and stipulations in this Settlement

 Agreement concerning class definition or class certification shall not be used as evidence or

 argument to support class definition or class certification; (d) the Trustee and the Subsidiary

 Debtors shall retain all rights to object to the claims in the Bankruptcy Cases asserted by Lead

 Plaintiffs, Plaintiffs, and Plaintiffs’ Counsel; and (e) Lead Plaintiffs, Plaintiffs, and Plaintiffs’

 Counsel reserve all rights and remedies, including without limitation, the right to seek certification

 of one or more classes in the Consolidated Class Adversary.

        28.     Claim No. 22670 shall be allowed on behalf of the Settlement Class pursuant to the

 Plan as a class proof of claim (“Class Claim”) to which Federal Rule of Bankruptcy Procedure

 7023 applies pursuant to Federal Rule of Bankruptcy Procedure 9014, and allocation of that claim

 for each individual holder is in the amount set forth in Amended Schedule F. The Class Claim




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 shall be classified as an allowed claim in each of Classes B2, B2A, B3, and B3A in the Plan as

 appropriate. The Lead Plaintiffs, in their capacity as Class Representatives, shall be authorized to

 cast one or more ballots (as applicable) to accept the Plan on behalf of those Settlement Class

 Members with claims and interests in Class B2, B2A, B3, or B3A who do not cast a vote to accept

 or reject the Plan in the respective Class B2, B2A, B3, or B3A.

         29.    The Parties also stipulate to the designation of Lead Plaintiffs to be appointed class

 representatives (“Class Representatives”) on behalf of the Settlement Class, the Ownership

 Settlement Subclass and the Rescission Settlement Subclass for purposes of this Settlement and the

 Plan.

         30.    The Parties also stipulate to the designation of Keith L. Langston of the Langston

 Law Firm to be appointed class counsel (“Class Counsel”) on behalf of the Settlement Class, the

 Ownership Settlement Subclass and the Rescission Settlement Subclass for purposes of this

 Settlement and the Plan.

         31.    The Estate Representatives, joined by Lead Plaintiffs and Plaintiffs’ Counsel, shall

 obtain entry of the necessary order(s) of the Court authorizing, empowering, and directing the

 Trustee and Subsidiary Debtors to send the Class Notice to the Settlement Class Members in a form

 and manner deemed sufficient by the Court. This Notice will include, at a minimum: (a) a

 summary of the terms of the Settlement Agreement and instructions as to where the full terms of

 the Settlement Agreement can be obtained; (b) the definition of the stipulated Settlement Class and

 an explanation that the class will be mandatory with no right of the Settlement Class Members to

 exclusion or to opt-out, but with an opportunity to object; (c) an explanation of the Class Claim that

 will be allowed and treated in accordance with the Plan; (d) an explanation of Class Counsel’s




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 Agreed Fee as defined herein, subject to Court approval; and (e) an explanation that all Settlement

 Class Members will have the opportunity to vote on the Plan themselves, but that any Settlement

 Class Members who do not vote will have their claims and interests voted by the Class

 Representatives in favor of the Plan.

                                         EQUITABLE RELIEF

        32.     The Final Approval Order shall be incorporated into and become part of the

 Confirmation Order. The Parties shall seek for the Court to enter, as part of the Final Approval

 Order or the Confirmation Order, or both, as applicable, equitable and declaratory relief

 summarized as follows and set forth fully in the Plan:

        a.      LPI (and any successor entity) will not sell or otherwise introduce into the market

                any securities unless those securities are (i) issued pursuant to the Plan or (ii)

                properly registered as securities with all appropriate federal and state regulatory

                bodies;

        b.      Debtors waive any claims to beneficial ownership in the Fractional Interests held in

                the name of the Settlement Class Members that are entitled to treatment as

                Continuing Fractional Holders, by election or otherwise, as set forth in the Plan and

                subject to the terms and conditions set forth in the Plan;

        c.      Subject to the terms and conditions set forth in the Plan, Debtors will provide each

                Ownership Settlement Subclass Member, for each Fractional Position, except for

                those Fractional Positions where a Pre-Petition Default Amount is owed and not

                paid by the close of business on the deadline set forth in the Plan, with the elections

                described in Section 3.07(c) and (e) of the Plan for each Fractional Interest Holder




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              and IRA Holder, respectively, which are summarized as follows: (i) be treated as a

              Continuing Position Holder with respect to their Fractional Position and be

              confirmed as the owner of a Fractional Interest or a New IRA Note, after making the

              related Continuing Position Holder Contribution; or (ii) contribute their Fractional

              Position to the Position Holder Trust or the IRA Partnership and receive an interest

              in the Position Holder Trust or the IRA Partnership. In addition, IRA Holders will

              have the option to distribute the IRA Note to the individual owner of the IRA Holder

              so that it is owned outside of the IRA, in which case the individual owner will be

              able to make a Continuing Holder Election to become a Continuing Fractional

              Holder under the Plan;

       d.     Subject to the terms and conditions set forth in the Plan, Debtors will provide the

              Rescission Settlement Subclass Members, for each Fractional Position, except for

              those Fractional Positions where a Pre-Petition Default Amount is owed and not

              paid by the close of business on the deadline set forth in the Plan, with the elections

              described in Section 3.07(b) and (d) of the Plan, which include the options

              summarized in paragraph 32(c) and the additional third option to rescind their

              purchase of the Fractional Interest and receive an interest in the Creditors’ Trust.

       e.     The Settlement Class Members who are IRA Holders stipulate that there was never

              any transfer of ownership of any Fractional Interest or other interest in any Policy

              made to any IRA Note Issuer Trust by them or on their behalf, nor any effective

              conveyance of any property to any of the IRA Note Issuer Trusts. The Settlement

              Class Members who are IRA Holders further stipulate that (i) any authority Brian




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                 Pardo had to act on their behalf or for their benefit, as Trustee of an IRA Note Issuer

                 Trust or otherwise, is revoked effective as of the Effective Date; (ii) the Settlement

                 Class Members who are IRA Holders are not looking to Brian Pardo to take, and he

                 is not authorized to take, any actions on their behalf, as such a Trustee or in any

                 capacity; and (iii) all claims and causes of action they have or that may be asserted

                 on their behalf against Brian Pardo in any capacity are included in the Assigned

                 Claims; and

              f. The Rescission Settlement Subclass Members who assign their Additional Assigned

                 Claims (as defined herein) to the Creditors’ Trust pursuant to paragraph 37 and the

                 Plan shall receive an additional Allowed Claim in Class B4 in an amount equal to

                 0.5% (one-half of one percent) of their Allowed Claim amount on Amended

                 Schedule F, for which the Rescission Settlement Subclass Member will receive a

                 corresponding interest in the Creditors’ Trust (the “Additional Allowed Claim”).

                 This interest shall be in addition to any interest in the Creditors’ Trust granted under

                 paragraph 32(d) of this Agreement.

       RELEASE AND ASSIGNMENT OF CLAIMS AND DISMISSAL OF ACTIONS

        33.      Upon the Effective Date, the Lead Plaintiffs (individually and as Class

 Representatives of all Settlement Class Members), all Settlement Class Members, Plaintiffs’

 Counsel, Class Counsel, and all of their current and former parents and subsidiaries, affiliates,

 partners, officers and directors, agents, employees, and any of their legal representatives (and the

 predecessors, heirs, executors, administrators, successors, purchasers, and assigns of each of the

 foregoing) (collectively, the “Settling Parties”) shall be deemed to have conclusively, absolutely,




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 unconditionally, irrevocably, and forever, released, waived, and discharged the claims against the

 Debtors asserted in Count II of the Consolidated Class Adversary, or that could have been asserted

 as part of Count II of the Consolidated Class Adversary (the “Released Claims”).

        34.     Upon the Effective Date, the Settling Parties shall be deemed to have conclusively

 compromised and exchanged for the treatment under the Plan all claims against the Debtors’

 estates, including but not limited to any proof of claim or interest filed by any Settlement Class

 Member, the claims asserted in the Plaintiffs’ Counsel Proofs of Claim, the Lead Plaintiff Proofs of

 Claim, the Class Proofs of Claim, and any claim for rejection damages resulting from the rejection

 of an Investment Contract, except for the Class Claim that will be allowed and treated as set forth

 in paragraph 28 of this Settlement Agreement and the Plan (the “Compromised Claims”), provided

 that nothing herein shall be deemed to release the Assigned Claims or Additional Assigned Claims,

 as defined and referenced in paragraphs 36-37 herein. After the Effective Date, the Settling Parties

 shall not seek, and are hereafter barred and enjoined from seeking, to recover from the Debtors’

 estates based in whole or in part upon any of the Compromised Claims or conduct at issue in the

 Compromised Claims.

        35.     In addition, as to the Released Claims and the Compromised Claims, the Settling

 Parties hereby expressly waive and release upon the Effective Date any and all provisions, rights,

 and benefits conferred by Section 1542 of the California Civil Code and Section 20-7-11 of the

 South Dakota Codified Laws, each of which provides that a general release does not extend to

 claims which the creditor does not know or suspect to exist in his favor at the time of executing the

 release, which if known by him must have materially affected his settlement with the debtor, and

 any similar provision, statute, regulation, rule, or principle of law or equity of any other state or




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 applicable jurisdiction.   The Settling Parties acknowledge that they are aware that they may

 hereafter discover facts in addition to, or different from, those facts which they know or believe to

 be true with respect to the subject matter of this Settlement Agreement, but that it is their intention

 to release fully, finally, and forever all Released Claims and to conclusively compromise and

 exchange for the treatment under the Plan the Compromised Claims, and in furtherance of such

 intention, this release and/or compromise shall be and will remain in effect notwithstanding the

 discovery or existence of any such additional or different facts.

        36.     Upon the Effective Date, the Lead Plaintiffs (individually and as Class

 Representatives of all Rescission Settlement Subclass Members), Rescission Settlement Subclass

 Members (excluding the MDL Plaintiffs, who will assign the same character of claims to the

 Creditors’ Trust via separate settlement agreement), Plaintiffs’ Counsel, and all of their current and

 former parents and subsidiaries, affiliates, partners, officers and directors, agents, employees, and

 any of their legal representatives (and the predecessors, heirs, executors, administrators, successors,

 purchasers, and assigns of each of the foregoing) (collectively, the “Assigning Parties”) assign all

 of their rights in any and all claims, damages, demands, suits, causes of action, obligations,

 remedies, debts, rights, and liabilities, whether known or unknown, liquidated or unliquidated,

 fixed or contingent, foreseen or unforeseen, matured or unmatured, whether class or individual, in

 law, equity, or otherwise, including claims for costs, fees, expenses, penalties, and attorneys’ fees

 (except those that are the subject to the Fee Application, as defined below, or otherwise deemed

 allowed and treated pursuant to this Settlement Agreement or the Plan), asserted by the Assigning

 Parties, or that could have been asserted by the Assigning Parties, or that the Assigning Parties

 have, may have, or are entitled to assert directly, representatively, derivatively, or in any other




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 capacity, against the Debtors, Brian Pardo, Deborah Carr, Kurt Carr, R. Scott Peden, Linda

 Robinson a/k/a Linda Robinson-Pardo, Pardo Family Holdings, Ltd., Pardo Family Holdings US,

 LLC, Pardo Family Trust, Paget Holdings, Inc., Paget Holdings Ltd., Tad M. Ballantyne, Fred

 DeWald, and Harold E. Rafuse (collectively, the “Assigned Claims”), to the Creditors’ Trust. The

 Assigning Parties, as of the Effective Date, transfer and assign all aspects of title to the Assigned

 Claims to the Creditors’ Trust, including but not limited to the right to bring suit on the Assigned

 Claims, to recover any form of relief whatsoever on the Assigned Claims, including but not limited

 to money damages, and to distribute funds to the creditors of the Debtors’ estates in accordance

 with the terms of the Plan. No further action on the part of the Assigning Parties is necessary to

 effectuate the assignment of the Assigned Claims set forth in this paragraph, and the Assigning

 Parties confirm that it is their present intent to retain no right or interest in the Assigned Claims.

 The Assigning Parties further acknowledge that after the Effective Date the Creditors’ Trust has the

 exclusive legal right and power to prosecute, compromise, settle, assign, receive proceeds from, or

 otherwise control the Assigned Claims. The Assigning Parties represent that they will do nothing

 in the future to impair, release, compromise, waive, or relinquish the Assigned Claims, to defend or

 take the position that the Assigned Claims were released or do not belong to the Creditors’ Trust, or

 to assist any person in defending any of the Assigned Claims or arguing that the Assigned Claims

 do not belong to the Creditors’ Trust. The Assigned Claims include, but are not limited to, the

 claims asserted in the Arnold Class Adversary, the Arnold State Court Action, and the other

 pending litigation listed in Appendix B. The assignee (as determined by the Plan) of the Assigned

 Claims shall cause the appropriate substitution of parties and counsel to the litigation listed in

 Appendix B within 30 days of the Effective Date.




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        37.     The ballot sent to all Rescission Settlement Subclass Members will contain a

 statement and opportunity for a Rescission Settlement Subclass Member (excluding the MDL

 Plaintiffs, who will assign their claims to the Creditors’ Trust via separate settlement agreement) to

 elect not to provide an assignment to the Creditors’ Trust of any claims other than the Assigned

 Claims. Upon the Effective Date, the Lead Plaintiffs, individually, and all Rescission Settlement

 Subclass Members who do not elect through their ballot not to provide an assignment of the

 Additional Assigned Claims (as defined herein) (excluding the MDL Plaintiffs, who will assign

 their claims to the Creditors’ Trust via separate settlement agreement), and all of their current and

 former parents and subsidiaries, affiliates, partners, officers and directors, agents, employees, and

 any of their legal representatives (and the predecessors, heirs, executors, administrators, successors,

 purchasers, and assigns of each of the foregoing) (collectively, the “Additional Assigning Parties”)

 assign all of their rights in any and all claims, damages, demands, suits, causes of action,

 obligations, remedies, debts, rights, and liabilities, whether known or unknown, liquidated or

 unliquidated, fixed or contingent, foreseen or unforeseen, matured or unmatured, whether class or

 individual, in law, equity, or otherwise, including claims for costs, fees, expenses, penalties, and

 attorneys’ fees (except those that are the subject to the Fee Application, as defined below, or

 otherwise deemed allowed and treated pursuant to this Settlement Agreement or the Plan), asserted

 by the Additional Assigning Parties, or that could have been asserted by the Additional Assigning

 Parties, or that the Additional Assigning Parties have, may have, or are entitled to assert directly,

 representatively, derivatively, or in any other capacity, against Life Settlement Exchange, LLC;

 Fred A. Cowley; Security Reserve Financial, Inc.; Gallagher Financial Group; Edward G. Burford

 Corporation; Sun Safety, Inc.; Faye Bagby; Ella Oliver d/b/a Investingmakesmesick.com;




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 Wealthstone Financial; Falco Group, LLC; Mark McKay; Kainos Asset Management, LLC; Peyton

 Inge a/k/a H/ Peyton Inge; Life Strategy Services, LLC; Ted Hasson; James Sundelius; Abundant

 Income, LLC; B G & S Management Consultants; BG & S Consultants; BG & S; Tim Harper;

 Brian Harper; American Safe Retirement, LLC; ASR Alternative Investments, LP; Joe Barkate dba

 MTLRC, LLC; Rich DePaolo; Alpha & Omega Global Risk Mgt., LP; AO Global, LLC; Petra

 World Wide, Inc.; Tolleson Investments, LLC; William M. Tolleson; Tolleson Holdings, LLC;

 Steadfast Endeavors, LLC; New Asset Advisors, LLC; Curtis M. Cole; New Asset Alternative,

 LLC; Lakeside Equity Partners, Inc.; Dewitt & Dunn, LLC; Frank W. Bice; The Retirement &

 Investment Council; Russell Hagan; and all prior officers, directors, affiliates, associates, members,

 principals, partners, officers, directors, trustees, control persons, employees, agents, brokers,

 attorneys, shareholders, advisors, investment advisors, banks, IRA advisers, IRA brokers, IRA

 custodians, insurers, insiders, licensees, master licensees, and representatives of the Debtors, and

 any entities in which any of these persons or entities has a direct or indirect interest, and any other

 persons or entities against whom the Additional Assigning Parties have a claim arising out of or

 relating to their investment with LPI or interest in the Debtors, arising out of or relating to any

 conduct, act, or omission of any of these persons or entities or otherwise related to the business of

 the Debtors from the beginning of the world until the Effective Date (collectively, the “Additional

 Assigned Claims”), to the Creditors’ Trust. Excluded from Additional Assigned Claims are all

 claims against any legal or tax professional retained on or after January 20, 2015. The Additional

 Assigning Parties, as of the Effective Date, transfer and assign all aspects of title to the Additional

 Assigned Claims to the Creditors’ Trust, including but not limited to the right to bring suit on the

 Assigned Claims, to recover any form of relief whatsoever on the Additional Assigned Claims,




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 including but not limited to money damages, and to distribute funds to the creditors of the Debtors’

 estates in accordance with the terms of the Plan. No further action on the part of the Additional

 Assigning Parties is necessary to effectuate the assignment of the Additional Assigned Claims set

 forth in this paragraph, and the Additional Assigning Parties confirm that it is their present intent to

 retain no right or interest in the Additional Assigned Claims. The Additional Assigning Parties

 further acknowledge that after the Effective Date the Creditors’ Trust has the exclusive legal right

 and power to prosecute, compromise, settle, assign, receive proceeds from, or otherwise control the

 Additional Assigned Claims. The Additional Assigning Parties represent that will do nothing in the

 future to impair, release, compromise, waive, or relinquish the Additional Assigned Claims, to

 defend or take the position that the Additional Assigned Claims were released or do not belong to

 the Creditors’ Trust, or to assist any person in defending any of the Additional Assigned Claims or

 arguing that the Additional Assigned Claims do not belong to the Creditors’ Trust.                   As

 consideration for assigning the Additional Assigned Claims to the Creditors’ Trust, each Additional

 Assigning Party shall receive an Additional Allowed Claim, as defined in paragraph 32(f).

        38.     Nothing in this Settlement Agreement or in any ballot signed by any Settlement

 Class Member shall affect or limit: (a) the right of the Trustee, Debtor, Creditors’ Trust and its

 trustee, or their successors to prosecute: (i) Moran v. Pardo, et al., Case No. 4:15-cv-00905-O; (ii)

 Moran v. Sundelius, et al., Adversary No. 15-40289-rfn11; (iii) Moran v. Abundant Income, LLC et

 al., Adversary No. 15-04110-rfn; (iv) Moran, et al. v. 72 Vest, et al., Case No. 16-04035; (v)

 Moran, et al. v. Ostler, et al., Case No. 16-04022; (vi) Moran, et al. v. A. Roger O. Whitley, Group,

 Inc., et al., Case No. 16-04038; (vii) Moran, et al. v. Happy Endings, Case No. 16-04024; (viii)

 Moran, et al. v. Robin Rock, et al., Case No. 16-04034; (ix) Moran, et al. v. Ballantyne, et al., 16-




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 04039; (x) Moran, et al. v. Funds for Life, et al., Case No. 16-04029; (xi) Moran, et al. v. Averritt,

 et al., Case No. 16-04032; (xii) Moran, et al. v. Coleman, et al., Case No. 16-04037; (xiii) Moran,

 et al. v. Atwell, et al., Case No. 16-04030; (xiv) Moran, et al. v. Atwell, et al., Case No. 16-04030;

 (xv) Moran, et al. v. Blanc & Otus, et al., Case No. 16-04031; (xvi) Moran, et al. v. Alexander, et

 al., Case No. 16-04036; (xvii) Moran, et al. v. ESP Communications, Case No. 16-04027; (xviii)

 Moran, et al. v. Cassidy, Case No. 16-04033; (xix) Moran, et al. v. Brooks, Case No. 16-04025;

 (xx) Moran, et al. v. Summit Alliance Settlement Co., LLC, et al., Case No. 16-04026; (xxi) Moran,

 et al. v. American Heart Association, et al, Case No. 16-04028; (xxii) any other adversary

 proceedings brought by or against the Trustee pending on March 15, 2016; and (xxiii) any

 objections to any and all claims filed by, scheduled or listed for, or otherwise asserted by any

 person or entity listed on Appendix A, or any other individual who served prior to January 20, 2015

 as an officer, director, advisor, board member, or otherwise was employed by LPI or any of its

 affiliates, including but not limited to all insiders of LPI or any of its affiliates, or any sales agents,

 brokers, IRA advisors, IRA custodians, IRA brokers, or other individuals affiliated with Life

 Partners’ sales or business, or any licensee or master licensee; or (vi) any other claims owned by

 the Trustee, the Debtors, or any of their successors; or (b) the Creditors’ Trust and its trustee’s or

 their successor’s right to prosecute: (i) the Arnold State Court Action; (ii) In re Life Partners

 Holdings, Inc. Shareholder Derivative Litigation, Case No. DR-11-CV-43-AM (W.D. Tex.); (iii)

 the litigation matters identified in Appendix B; (iv) the litigation matters assigned to the Creditors’

 Trust by the MDL Plaintiffs; (v) any claims assigned to the Creditors’ Trust by the Plan, the

 Trustee, or the Debtors; (vi) the Assigned Claims; (vii) subject to the terms of paragraph 37, the

 Additional Assigned Claims; or (viii) any other claims assigned to or otherwise owned by the




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 Creditors’ Trust, its trustee, or their successors.

                                              RESCISSION

         39.     If the Court does not approve or enter the Final Approval Order or the Final 9019

 Order; if the Final Approval Order or the Final 9019 Order is modified or set aside on appeal; or if

 the Confirmation Order is modified, reversed, or vacated on appeal, then the Party or Parties

 adversely affected by or who opposed such refusal to provide or affirm the requested relief,

 modification, vacation, or appeal shall each, in their sole discretion, have the option to rescind this

 Settlement Agreement in its entirety by written notice to the Court and to counsel for the other

 Parties that is filed and served within ten (10) days of the event triggering the right to rescind. Any

 decision with respect to an application for or award of attorneys’ fees, costs, or expenses, by the

 Court, on appeal, or otherwise, shall not be considered material to the Settlement Agreement and

 shall not be grounds for rescission.

         40.     If the Settlement Agreement is rescinded in accordance with its terms, is not

 approved by the Court, or otherwise fails to become effective in accordance with its terms,

 including if the Effective Date fails to occur, then this Settlement Agreement will not take effect

 and will become null and void for all purposes, and the Parties will be restored to their respective

 positions in the Consolidated Class Adversary and the Arnold State Court Action as of the

 Execution Date of this Agreement, which shall be the date set forth in the introductory paragraph of

 this Settlement Agreement. In that event, this Settlement Agreement, and representations made in

 conjunction with it, may not be used in the Consolidated Class Adversary, the Arnold State Court

 Action, or otherwise for any purpose. The Parties expressly reserve all rights if the Settlement

 Agreement does not become effective or if it is rescinded.




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   PLAN SUPPORT AND ENTRY OF FINAL 9019 ORDER, FINAL APPROVAL ORDER,
                      AND CONFIRMATION ORDER

        41.    The Estate Representatives, joined by the Lead Plaintiffs and Plaintiffs’ Counsel,

 shall seek entry of the Final Approval Order and Final 9019 Order, which as applicable shall

 include the provisions in Paragraph 32 of this Settlement Agreement and provisions:             (a)

 authorizing the Trustee and the Debtors to enter into this Settlement Agreement; (b) approving this

 Settlement Agreement, and directing its implementation pursuant to its terms and conditions; (c)

 approving the allowance of the Class Claim as a class proof of claim pursuant to Bankruptcy Rules

 9014 and/or 7023; (d) deeming the Plan and Confirmation Order to incorporate and include the

 terms and conditions of this Settlement Agreement and to approve the compromise and settlement

 that is contemplated in this Settlement Agreement as part of the Plan pursuant to 11 U.S.C.

 § 1123(b); (e) as of the Effective Date, releasing the Released Claims, and permanently barring and

 enjoining all Settling Parties from instituting, maintaining, or prosecuting, either directly or

 indirectly, any lawsuit that asserts Released Claims; (f) as of the Effective Date, approving the

 assignment of and assigning the Assigned Claims and Additional Assigned Claims to the Creditors’

 Trust; (g) appointing Lead Plaintiffs as Class Representatives of the Ownership Settlement

 Subclass and Rescission Settlement Subclass, and authorizing and empowering Lead Plaintiffs, in

 their capacity as Class Representatives of the Settlement Class, to complete the class ballots and

 vote to accept the Plan on behalf of all Settlement Class Members who do not cast an individual

 ballot, subject to and in accordance with this Settlement Agreement; and (g) reserving to the Court

 that enters the Final Approval Order continuing jurisdiction over the Parties with respect to the

 Settlement Agreement and the Final Approval Order.




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        42.     Class Representatives and Plaintiffs’ Counsel agree to fully support the Plan, and,

 pursuant to the Class Claim allowed under this Settlement Agreement, Class Representatives agree

 to vote in favor of the Plan on behalf of themselves and in their capacity as Class Representatives

 on behalf of any Settlement Class Members who do not cast an individual ballot, provided,

 however, that if the Class Representatives, in consultation with Plaintiffs’ Counsel, determine in

 the good faith exercise of their fiduciary duty and taking into consideration all relevant risk factors

 including, but not limited to, the opinions of the Plan Proponents and the Plan Supporters, potential

 delay, financial outcome, and other legal and regulatory factors, that there is a proposed plan other

 than the Plan that fully incorporates the terms of and is not inconsistent with this Settlement

 Agreement and is in the best interest of the Settlement Class Members (the “Alternate Plan”), then

 Class Representatives and Plaintiffs’ Counsel may choose to support that Alternate Plan.

                               DISCOVERY AND COOPERATION

        43.     Discovery from Arnold State Court Action. Within 30 days after the Effective Date,

 Class Counsel shall deliver to the Trustee, by and through his attorneys at Thompson & Knight,

 1722 Routh Street, Suite 1500, Dallas, Texas 75201, Attn: Jennifer R. Ecklund, a copy of all

 written discovery, deposition transcripts and exhibits, and documents that are not subject to any

 privilege or immunity that were produced in the Arnold State Court Action that have not already

 been provided to the Trustee, through counsel.

        44.     Cooperation from Lead Plaintiffs.      Upon reasonable notice, each Lead Plaintiff

 agrees to make himself or herself available for an interview, at mutually convenient times and at a

 location or locations of his or her choice within the United States, or by telephone. Each Lead

 Plaintiff will provide truthful information and requested documents (if reasonably available), and




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 shall cooperate in the preparation of truthful declarations and/or affidavits if requested by the

 Trustee or his successor, the trustee of the Creditors’ Trust, or their counsel. Nothing herein shall

 require the Debtors to pay any expense of the Lead Plaintiffs or his or her attorney in connection

 with any interview provided for in this paragraph 44.          An “interview” for purposes of this

 paragraph 44 shall last no longer than two hours, excluding reasonable breaks.

        45.     Cooperation from Class Counsel.        Class Counsel for the Rescission Settlement

 Subclass agrees to reasonably cooperate with a designee of the Trustee or his successor, the trustee

 of the Creditors’ Trust, or their counsel, free of any charge, to provide information relevant to the

 Settlement Class Members’ investments with LPI, including consulting with a designee of the

 Trustee or his successor, the trustee of the Creditors’ Trust, or their counsel on the discovery and

 events from the Arnold State Court Action, securing documents requested from Lead Plaintiffs, and

 providing work product from the Arnold State Court Action or the Consolidated Class Adversary

 relevant to the Creditors’ Trust’s prosecution of the Assigned Claims, the Additional Assigned

 Claims, or other litigation to benefit the bankruptcy estates or the Creditors’ Trust, up to fifty (50)

 hours of attorney time, including travel time. Provided, however, that Class Counsel shall not be

 required to provide requested cooperation if Class Counsel reasonably believes providing such

 cooperation is unlawful, would result in Class Counsel violating any ethical rule governing the

 practice of law, and/or expose Class Counsel to risk of liability to any person or entity.

                                        ATTORNEYS’ FEES

        46.     Class Counsel will apply to the Court for an award of attorneys’ fees in an amount

 not to exceed $33,000,000 (the “Agreed Fee”), to be paid over time through the mechanism

 described below (the “Fee Application”). The Trustee and Subsidiary Debtors estimate the present




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 value of the Agreed Fee to be $5,219,043. The Fee Application is subject to approval by the Court,

 and the final amount awarded by the Court on the Fee Application (the “Approved Fee”) will be

 paid through the mechanism described below and set forth in Section 4.03(b) and 4.13(e) of the

 Plan.

         47.      Settlement Class Members will not be required to pay the Approved Fee from any

 portion of Fractional Positions owned by or contributed to the Position Holder Trust by Settlement

 Class Members pursuant to the Plan. Class Counsel agrees to defer payment of the Approved Fee

 and instead to be paid the Approved Fee in accordance with the Plan in kind and over time on the

 basis of the face amount of Pre-Petition Abandoned Positions, and through transfer to Class

 Counsel (or a designee of Class Counsel) of ownership of a pro rata share2 of the Pre-Petition

 Abandoned Positions to Class Counsel in the aggregate face amount of the Approved Fee (the “Fee

 Positions”3) on or before the later of: (i) the completion of Catch-Up Reconciliation (as defined in

 the Plan); or (ii) ten (10) days after the Fee Application is approved in the amount of the Approved

 Fee, regardless of whether the Approved Fee or Final Approval Order is appealed or sought to be

 modified by any person or entity. If the Approved Fee or Final Approval Order is appealed,

 maturity proceeds allocated to the Fee Positions will be placed into escrow pending the outcome of

 the appeal, and if the Approved Fee or Final Approval Order is modified or reversed on appeal, the

 registered ownership of the affected Pre-Petition Abandoned Positions (or maturity proceeds

 therefrom) will be transferred to the Position Holder Trust, but only to the extent of the


 2
   The Fee Positions will be a percentage of every Pre-Petition Abandoned Position determined by taking the Approved
 Fee and dividing it by the total value of the Pre-Petition Abandoned Positions. For example, if the total value of the
 Pre-Petition Abandoned Positions is $180 million and if the Approved Fee is $33 million, the Fee Positions will be
 18.3333% of each of the Pre-Petition Abandoned Positions.
 3
   Also referred to as “Class Action Litigants’ Counsel Fee Positions” in the Plan.




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 modification or reversal. Plaintiffs’ Counsel’s ownership of the Fee Positions will be subject to a

 3% (three percent) servicing fee and no other encumbrances, including but not limited to “catch-

 up” payments or ongoing premium payment obligations. The Fee Positions will be governed by

 and treated under the Plan. In no event will Class Counsel have the right to recover payment or

 recovery of its attorneys’ fees pursuant to this Settlement Agreement in excess of the Approved

 Fee.

        48.    The Estate Representatives: (a) shall not directly or indirectly oppose and shall

 advance and support the Fee Application and entry of one or more appropriate orders authorizing

 and directing the payment and allowance of the Agreed Fee, in full, payable as set forth in this

 Agreement; and (b) shall not take any position that would be inconsistent with the positions

 asserted by Class Counsel in support of the Agreed Fee. The Trustee and Subsidiary Debtors shall:

 (a) cooperate with Class Counsel as reasonably requested with respect to the Fee Application; and

 (b) oppose any request by any person or entity to reduce the amount of the Allowed Fee below the

 Agreed Fee.    The Trustee and Subsidiary Debtors agree that payment and allowance of an

 Approved Fee to Class Counsel in the amount of the Agreed Fee, payable as set forth in this

 Agreement, is a fair and reasonable fee calculated as a percentage of the common fund under

 applicable non-bankruptcy law, based upon and directly traceable to the work performed by

 Plaintiffs’ Counsel and the significant benefits conferred on the Settlement Class, inter alia,

 traceable to the relief awarded to the Settlement Class Members in the terms of this Settlement

 Agreement.

        49.    The Trustee and Subsidiary Debtors recognize that the Agreed Fee is less than the

 amount that Class Counsel may otherwise be entitled to receive, as a percentage of a common fund,




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 a fund that Plaintiffs’ Counsel discovered, prosecuted, and created for the benefit of the Settlement

 Class. Class Counsel asserts the common fund traceable to the amounts recovered by Class

 Counsel for the benefit of the Settlement Class Members is $1,283,607,944, which is the amount of

 claims entitled to rescission as a result of the opinion obtained through Plaintiffs’ Counsel’s

 litigation in the Arnold State Court Action. Regardless, under an actual monetary value approach,

 the Plan results in substantial value and direct benefits presently estimated to be $1,078,582,000 to

 the Settlement Class Members on account of the claims awarded to them through the Arnold State

 Court Action and the settlement of the Consolidated Class Adversary. This value is comprised of

 at least the sum of the stream of payments that will be paid to Settlement Class Members through

 the Plan. If the common fund is calculated using the “actual monetary value” method, then the

 Agreed Fee is only 3.06% of the common fund.

        50.     Accordingly, the Trustee and Subsidiary Debtors acknowledge and agree that

 regardless of the methodology employed to calculate the common fund, the amount of the common

 fund is sufficiently large that the amount of fees to be requested by Class Counsel pursuant to this

 Agreement in the Fee Application (i.e., the Agreed Fee) is fair and reasonable as a percentage of

 the common fund and should be allowed and is a significant concession by Class Counsel.

        51.     Moreover, the Trustee and Subsidiary Debtors recognize that that the resolution of

 the Ownership Issue is required in order to permit the formulation and confirmation of the Plan,

 and Class Counsel’s acceptance of payment over time through the mechanism described in

 paragraph 47, rather than in a lump sum in cash on the Effective Date, significantly increases the

 Debtors’ liquidity and ability to perform the future obligations that benefit all creditors under the

 Plan and is a significant factor supporting the averment that the Plan is feasible and satisfies, inter




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 alia, 11 U.S.C. § 1129(a)(11). Therefore, the Trustee and Subsidiary Debtors acknowledge that the

 Agreed Fee is both fair and reasonable, considering the factors expressed in Johnson v. Georgia

 Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974).

        52.     A reduction, by the Court, on appeal, or otherwise, of the Agreed Fee or Approved

 Fee is not considered material to this Agreement and shall not affect any other rights or obligations

 under this Agreement. In the event the amount payable to Class Counsel is reduced, by the Court,

 on appeal, or otherwise, the related funds or Pre-Petition Abandoned Interests will remain part of

 the Debtors’ bankruptcy estates and be treated in accordance with the Plan.

                                   ADDITIONAL PROVISIONS

        53.     Reasonable Best Efforts to Obtain Final Approval of the Settlement Agreement.

 Counsel for all Parties agree to use their reasonable best efforts to obtain final approval of this

 Settlement Agreement, subject to the Parties’ rights to rescind the Settlement Agreement as set

 forth in paragraphs 39-40 and fiduciary obligations of the Parties.

        54.     Audit Rights. Debtors agree to cause the Position Holder Trust to be required to

 keep sufficient books, records, and accounts regarding its collection and distribution of death

 benefits and its other obligations under this Agreement, and to maintain such records until the

 expiration of seven (7) years after the year to which such records pertain. Upon ten (10) days

 notice, Class Counsel shall have the right, at its own expense and not more than once every other

 calendar year, to have an independent auditor, who shall be a certified public accountant from an

 accounting firm of Class Counsel’s choice, inspect and audit the Position Holder Trust’s relevant

 records and practices during the Position Holder Trust’s normal business hours solely to verify the

 accuracy of payments and compliance with the Position Holder Trust’s obligations under this




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 Agreement, subject to the independent auditor signing a confidentiality agreement with the Position

 Holder Trust. The independent auditor shall only disclose to Class Counsel the amount of death

 benefits collected and distributed and the amount of any underpayment or overpayment, and shall

 not disclose to Class Counsel documents, invoices, investor identities, or any other confidential or

 proprietary information of the Position Holder Trust. If any such audit should disclose an alleged

 insufficient payment to Class Counsel, the independent auditor shall deliver a report to the Position

 Holder Trust, and the Position Holder Trust shall have thirty (30) days to review the report and

 either accept or object to the findings of the report. If the Position Holder Trust accepts the

 findings of the report, the Position Holder Trust shall bring itself into compliance with the

 Agreement within fifteen (15) days after acceptance and pay Class Counsel for any shortfall

 determined. If the Position Holder Trust objects to the findings of the report, Class Counsel and the

 Position Holder Trust will jointly hire a third-party certified public accountant unaffiliated with

 either side to prepare a report within thirty (30) days. If the third-party report identifies a shortfall

 owed to Class Counsel, the Position Holder Trust shall bring itself into compliance with the

 Agreement within fifteen (15) days after issuance of the third-party report determining any

 shortfall. In the case of an accepted audit report or third-party audit report showing underpayment

 of more than one percent (1%) for any calendar year, the Position Holder Trust shall also pay for

 Class Counsel’s reasonable expenses of such audit (including attorneys’ fees and fees paid to the

 auditor).    In the case of an accepted audit report or third-party audit report showing no

 underpayment for any calendar year, Class Counsel shall pay for the Position Holder Trust’s

 reasonable expenses of such audit (including attorneys’ fees and fees paid to the auditor), if any.

        55.     No Admission. This Settlement Agreement, whether or not it shall become final,




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 and any and all negotiations, communications, and discussions associated with it, shall not be: (a)

 offered or received by or against any person as evidence of, or be construed as or deemed to be

 evidence of, any presumption, concession, or admission by a Party of the truth of any fact alleged

 or defense asserted, of the validity of any claim, of the deficiency of any defense, or of any

 liability, negligence, fault or wrongdoing on the part of any Party; (b) offered or received by or

 against any person as a presumption, concession, admission or evidence of the violation of any

 state or federal statute, law, rule, or regulation or of any liability or wrongdoing by any Party, or of

 the truth of any of the claims, and evidence thereof shall not be directly or indirectly, in any way,

 offered or received (whether in the Consolidated Class Adversary, or in any other action or

 proceeding), except for purposes of enforcing this Settlement Agreement and the Final Approval

 Order and Confirmation Order, including, without limitation, asserting as a defense the release and

 waivers provided herein; (c) offered or received by or against any person as evidence of a

 presumption, concession, or admission with respect to a decision by any court regarding the

 certification of a class, or for purposes of proving any liability, negligence, fault, or wrongdoing, or

 in any way referred to for any other reason as against the Trustee or the Debtors, in any other civil,

 criminal, or administrative action or proceeding, other than such proceedings as may be necessary

 to effectuate the provisions of this Settlement Agreement; provided, however, that if this Settlement

 Agreement is approved by the Court, then the signatories to the Agreement may refer to it to

 enforce their rights hereunder; or (d) construed as an admission or concession by an Party that the

 consideration to be given in this Settlement Agreement represents the relief that could or would

 have been obtained through trial in the Consolidated Class Adversary or the Arnold State Court

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        56.     Arm’s-Length Negotiations. The Parties agree that the terms of this Settlement

 Agreement were negotiated at arm’s length and in good faith, and reflect a settlement that was

 reached voluntarily after consultation with experienced legal counsel. This Settlement Agreement

 shall not be construed more strictly against one Party than another merely by virtue of the fact that

 it, or any part of it, may have been prepared by counsel for one of the Parties, it being recognized

 that it is the result of arm’s-length negotiations between the Parties and their counsel, and all

 Parties have contributed substantially and materially to the preparation of this Settlement

 Agreement.

        57.     Only written modification. This Settlement Agreement, including the appendices to

 this Settlement Agreement, may not be modified or amended, nor may any of its provisions be

 waived, except by a writing signed by all signatories to this Settlement Agreement or their

 successors-in-interest. Any condition in this Settlement Agreement may be waived by the Party

 entitled to enforce the condition in a writing signed by that Party or its counsel. The waiver by any

 Party of any breach of this Settlement Agreement by any other Party shall not be deemed a waiver

 of the breach by any other Party, or a waiver of any other prior or subsequent breach of this

 Settlement Agreement by that Party or any other Party. Without further order of the Bankruptcy

 Court, the Parties may agree to reasonable extensions of time to carry out any of the provisions of

 this Settlement Agreement.

        58.     Headings. The headings herein are used for the purpose of convenience only and

 are not meant to have legal effect.

        59.     Authority of the Court. The administration and consummation of this settlement as

 embodied in this Settlement Agreement shall be under the authority of the Court orders approving




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 this Settlement Agreement and authorizing and directing the Parties to effectuate and implement

 this Settlement Agreement pursuant to Federal Rules of Bankruptcy Procedure 9019 and 7023 and

 Federal Rule of Civil Procedure 23 and the Confirmation Order, and the Court that enters the Final

 Approval Order shall retain continuing and exclusive jurisdiction for the purpose of, inter alia,

 entering orders providing for the enforcement of the terms of this Settlement Agreement.

         60.      Taxes.     The Plaintiffs and Plaintiffs’ Counsel acknowledge that neither of the

 Trustee, the Debtors, any of their counsel, nor Plaintiffs’ Counsel, have provided, made, or are

 making in connection with the Settlement Agreement, any tax advice or any representations

 regarding possible tax consequences relating to the Settlement Agreement or the Plan.                             The

 Plaintiffs and Plaintiffs’ Counsel further acknowledge that neither the Trustee, the Debtors, the

 Committee,4 and their successors under the Plan, any of their counsel, nor Plaintiffs’ Counsel, have

 or will have any responsibility for any taxes due based upon the equitable relief provisions in

 paragraph 32 or based upon any other provision of the Settlement Agreement or the Plan except for

 the Approved Fee. Plaintiffs’ Counsel acknowledges that neither the Trustee, the Debtors, the

 Committee, and their successors under the Plan, nor any of their counsel, have or will have any

 responsibility for any taxes due based upon payment of the Approved Fee. Each Settlement Class

 Member’s tax obligations, if any, and the determination thereof, are the sole responsibility of the

 Settlement Class Member. The Debtors shall comply with all applicable reporting and withholding

 obligations imposed by law, including reporting the payment of the Approved Fee and backup

 withholding if Class Counsel does not furnish its taxpayer identification number to the Debtors


 4
   Nothing in this paragraph is intended to diminish or affect in any manner any responsibility for any taxes due, based
 upon the equitable relief provisions in paragraph 32, that any Committee member may have by virtue of such
 individual’s status as a Settlement Class Member.



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 using Form W-9, Request for Taxpayer Identification Number and Certification.

        61.     Entire Agreement. This Settlement Agreement (inclusive of its appendices) and the

 Plan constitutes the entire agreement among the Parties concerning this settlement, and no

 representations, warranties or inducements have been made by any Party concerning this

 Settlement Agreement (inclusive of its appendices) other than those contained and memorialized in

 the Settlement Agreement (inclusive of its appendices) or the Plan. In the event of a conflict

 between the terms of this Settlement Agreement and the terms of the Plan, the terms of this

 Settlement Agreement shall control.

        62.     No Third Party Beneficiaries. This Settlement Agreement is not intended to confer

 any rights, obligations, or remedies on any person other than the Parties and their successors and

 assigns.

        63.     Multiple Counterparts. This Settlement Agreement may be executed in one or more

 original, e-mailed, and/or faxed counterparts. All executed counterparts and each of them shall be

 deemed to be one and the same instrument.

        64.     Binding Nature. This Settlement Agreement shall be binding upon, and inure to the

 benefit of, the successors and assigns of the Parties.

        65.     Choice of Law. The construction, interpretation, operation, effect and validity of

 this Settlement Agreement shall be governed by the laws of the State of Texas without regard to the

 applicable choice of law rules, except to the extent that federal law requires that federal law govern.

        66.     Representations and Warranties. All counsel and any other person executing this

 Settlement Agreement and any of its appendices, or any documents related to the Settlement

 Agreement, warrant and represent that they have the full authority to do so and that they have the




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                                     LIFE PARTNERS HOLDINGS, INC.



    Date: ----------------          By:                                             _
                                            H. Thomas Moran II, Chapter 11 Trustee for
                                            Life Partners Holdings Inc.


                                     LIFE PARTNERS, INC.



    Date:                            By:                                             ___
                                            Colette Pieper, CEO of Life Partners, Inc.

                                     LPI FINANCIAL SERVICES,    INc.


    Date:                            By:                                                 __
                                            Colette Pieper, CEO ofLPI Financial Services,
                                            Inc.

                                                               F TINS CURED CREDITORS



    Date:     3-/i-2!)/b

    Date: ~   -1'7- ZoJb

    Date:                            By:                                                 __
                                            Skip Trimble, Member

                                     LEAD PLAINTIFFS AND PROPOSED CLASS
                                     REPRESENTATIVES



    Date:                            By:                                                 _
                                            Philip Gamer

    Date:                            By:                                             ___
                                            Christine Duncan



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                                       LIFE PARTNERS     HOLDINGS,    INC.



     Date: -------------              By:                                              _
                                              H. Thomas Moran II, Chapter 11 Trustee for
                                              Life Partners Holdings Inc.


                                       LIFE PARTNERS,    INC.



     Date:
                                       By:                                                 __
                                              Colette Pieper, CEO of Life Partners, Inc.

                                       LPI FINANCIAL     SERVICES,   INC.



     Date:                             By:                                             __
                                              Colette Pieper, CEO ofLPI Financial Services,
                                              Inc.

                                       OFFICIAL   COMMITTEE     OF UNSECURED     CREDITORS



     Date:                             By:                                                 _
                                              Mark Reddus, Member


     Date:                             By:                                             ___
                                             Bert Scalzo, Member


     Date:
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                                              Skip rimble, Member

                                       LEAD PLAINTIFFS    AND PROPOSED       CLASS
                                       REPRESENT ATlVES



     Date:                             By:                                                 _
                                             Philip Garner

     Date:                             By:                                             _
                                             Christine Duncan



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                                                         Appendix A

A Roger O. Whitley Group, Inc.               Charlotte Hardin                           Dee Wayne Cullum
A Silver Lining, LLC                         Charmaine Wages                            Dennis Carpenter
A. Nick Coppolo                              Charter Insurance Brokerage, Inc.          Dennis Lagow
Achim Reinhart dba LifeSet TBB               Chidester Investment, LLC                  Dennis O. Harris
Afrain Cavazos                               Cindy Bulloch                              Descartes Limited
Alexandra Agencies Limited                   Clear Sum, LLC                             Diamond Safe Financial, LLC
Alternative Investment Advisors, LLC         Clint Perrin                               Dipak Patel
Andrew Walvoord                              Clyde Jones                                Diversified Metroplex Investors, LLC
Andy Hines                                   Concierge Life Settlements, Inc.           Don Ballew
Anne Stilwell Kleefisch                      Connie Forbes                              Donald B. Bergis
Assured Retirement, LLC                      Connie Langley                             Donald L. Ashberry
Bagby Investments LP                         Craig C Perkins Wealth Solutions LLC       Donald Whittenburg and Mgmt
Barlas & Chamber, LLC                        Craig C. Perkins                           Douglas Allison
Bay Wine, Inc.                               Crossroads Agency                          Eagle One Investments, LLC
Becky Weatherby                              CUB Investments                            Earl Stewart
Betty J. Horton                              Dallas Air Charter                         EBS III Financial, Inc.
Bill Enlow                                   Dan Lahey                                  Educated Investment Group
Billie Hall                                  Danny J. Markham                           Edward G. Burford aka Eddie Burford
Blackstone Family Partnership                DAT Interests, Inc.                        Edward G. Burford Corporation
Brad Wilemon                                 Dave F. Dallons                            Edward O. Reeves
Brent Husted                                 David Barr                                 ENR Enterprises, LLC
Brian E. Prechtl                             David Bendel                               F. R. Harden
Brian Harper                                 David Eiland                               Faye Bagby
Brian Murray                                 David F. Brockman                          Fei Havenor
Byron T. Gannaway                            David M Bruce TR                           Fellowship Financial, LLC
Cade Smith                                   David Norcom                               Fidelis Fetsch
Caperton Enterprises, Inc.                   David Taliaferro                           Filpansick Holdings, LLC
Carrie Bitros                                David Valencia                             Forward Financial & Ins Services, Inc.
Carteya Limited                              David Youzva                               Forward Focus International Corp.
Centerline Resources, LLC                    dba Positive Rate Investments, LLC         Frank Dimicelli

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Fritz J Aldrine                                Jack R. Barnes                             Ken Comeaux
Gain Plan Financial, LLC                       Jack Rosenquist                            Ken Higdon
Garry Madaline                                 Jacob Moran                                Kenneth Holland
Gary Brosseit                                  Jacqueline M. Tyler                        Kenneth J. McGovern
Gary Cassill                                   James B Sloan                              Kenneth Nelson
Gary Henderson                                 James C. Calmes                            Kenneth Smith
George Filpansick                              James H. Cobb                              KL Grace, LLC
Gerald DuBose                                  James Moriarty III                         K's Marketing, Inc.
Gil DeShazo                                    James Rose                                 Lana Borbas
Glenda L. Cooper                               James Sundelius                            Larry Darnall
GO Financial Services, Inc.                    James T. Payton                            Laura Olbeter
Good Life Financial                            Janet Kusch                                Lead Masters Insurance Marketing &
Grace Life Investments                         Jay Heimburger                             Financial Network, Inc.
Gregg M Cune                                   Jeannette Bajalia                          Life Financial Group, LLC
Gregory Dailey                                 Jeff Martel                                LifeMatters International, Inc.
Guy Smith                                      Jeff S. Garrett                            Linda Harper
Hans P. Reinhart                               Jerry Weakley Enterprises, Inc.            Lloyd Lowe Sr.
Harmon Insurance Agency                        Jody Ashford                               Lori Herzog
Harry J Wilson                                 Joe Bollinger                              Luxury Management, LLC
Hollis Steven Hufstetler, Sr.                  Joel F. Woods                              Lynn Investments, LLC
Homer H. Stout                                 John Crooks                                Marianne Honea
Howard J. Boutte                               John Guess                                 Mark Bronson
Huilen E Tseng                                 John Harper                                Mark House
Humberto Alcazar, Jr.                          John J. Gannon                             Mark McKay
IFS Financial Services                         John P. Ley                                Matt Pashby
Innovative Charitable Solutions, Inc           John R. Gove                               Maxing Money Solutions, Inc.
Integrity Capital Advisory, LLC                John R. Harkey Sr.                         MCH Advisors Inc.
Inter Consulting                               John S. Muratore                           MDH Investments
Internet Aces Corp                             Johnson Financial Consulting, Inc.         Melinda Mangrum
Investment Income Group, LLC                   Joseph Barkate, PLLC                       Merrie M. Kelly
Isidore Enterprises Inc.                       Joseph Feldman                             Michael Lloyd
IWM Investments, LLC                           Joseph Hopkins                             Michael McGarrah
Jack Lee Dixon TR U                            Julie Cepelak dba Wealth Watchers, LLC     Michael Mishler
Jack M. Pausman                                Keith Randolph-Lipscomb                    Michael T. Tyler

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Miles Babcock                                Rick Curtis                                The Arbitrage Advisory Group, Inc.
Money Team Coach, LLC                        Robert D. Phillips                         The Elisha Group, LLC
Mustang Ins. Group                           Robert H. Watlington                       The Perfect Enhancement, LLC
Nathaniel Hawkins III                        Robert M. Rountree                         The Property People, LLC
Necia B. Cobb aka Necia Bishop-Cobb          Robert Newton                              The Retirement & Investment Council
New England Alternative Investments, Inc.    Robert Quick                               Thomas Burk Massey
Norman Lorentz                               Robert Rountree Jr.                        Thomas C. Zyroll
NW Safe Retirement                           Robert Westrup                             Thomas Quinn
Ohlhaber Asset Management, LLC               Robert Whipple, Inc.                       Thomas R. McElroy
Omnium International Group, Inc.             Robin Rock, Ltd.                           Thomas R. Wilson
OPV Enterprises, LLC                         Roger Lane                                 Timothy Joyce
Paget Holdings, Ltd.                         Ronald Coleman                             Todd Shevlin
Pamela Ball                                  Ronnie Knoy                                United Senior Advisors Group
Pamela M. Burton                             Ronnie McAda, Jr.                          Vernon Bell
Pamela S. Davis                              Root Hospitality Solutions, LLC            Vicki C. Flannery
Paul Nick                                    Russell Hagan                              Victor Pantuso
Paula Izzard Properties, LLC                 Ryan Cowley                                Wade L. Hampton
Phillip Bellingan                            Safe Alternative Investments, LLC          Wealth Associates Incorporated
PowerStream Investment Corporation           Sean Maness                                Wellspring Enterprise Mgmt, Inc.
Presidents Marketing Group                   Secure Retirement Solutions, LLC           Wendelin Labio-Balallo
Professional Insurance Elite Agency, LLC     Shamrock Life Settlement, Inc.             Wheetley Financial Services
R Squared Inc.                               Sherwood International Corporation         William Knoy
Randal Wallis                                Sidney Evans                               William M. Tolleson
Randel Brookings                             Spectrum Advisors, Inc.                    William Michael Tolleson
Rands Agency, Inc.                           Stephanie M. Lucke                         William V. Mozek, Jr.
Raymon G. Chadwick Jr.                       Steve Feeken                               Windfall Development, Inc.
Raymond Croteau                              Sun Safety, Inc.                           Winners Only Team, Inc.
Raymond Fox                                  Sundbridge Financial, LLC
Retirement Options, LLC                      Susan Carver
Retirement Rescue, LLC                       Susan J. Payton
Rich DePaolo                                 T. Brooks Moore
Richard Shaw                                 TEK 2001, Inc.
Richard W. Kemp                              Tena Wilson
Richard Wong                                 Texas Fifty Plus, Inc.

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                                        Appendix B

 Jack and Jolene Wasson v. Cathy Dewitt, Lakeside Equity Partners, Inc. v. Life Partners, Inc., No.
 16-04040-rfn (United States Bankruptcy Court for the Northern District of Texas, filed Dec. 26,
 2012, removed March 14, 2016)

 William S. Eastwood, Russell J. Bowman, and Kristina A. Bowman v. Life Partners Inc. and LPI
 Financial Services, No. 16-06003 (United States Bankruptcy Court for the Western District of
 Texas, filed Nov. 20, 2014, removed March 14, 2016)

 JMD Resources, LLC v. Life Partners Inc., Life Partners Holdings, Inc., No. 16-05016 (United
 States Bankruptcy Court for the Western District of Texas, filed May 13, 2014, removed March 14,
 2016)

 Michael Arnold, Janet Arnold, Steve South, John S. Ferris, and all others similarly situated v. Life
 Partners, Inc., Life Partners Holdings, Inc., Abundant Income, and Milkie/Ferguson Investment,
 Inc., No. DC-11-02995 (Tex. Dist. Ct. Dallas Cnty., filed Mar. 14, 2011)

 Anthony Sansone, on behalf of himself and all others similarly situated v. Life Partners, Inc., No.
 15-1628-CI (Fla. Cir. Ct. Pinellas Cnty., filed March 12, 2015)

 Pillar Life Settlement Fund I, LP et al. v. Life Partners, Inc., No. 15-04106-rfn (United States
 Bankruptcy Court for the Western District of Texas, filed Dec. 22, 2015)

 KLI Investments, LP et al. v. Life Partners, Inc., No. 15-04051-rfn (United States Bankruptcy Court
 for the Western District of Texas, filed June 19, 2015) (including all intervenors and proposed
 intervenors)




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                                     Appendix C
 1.    Allen, Jr., James
 2.    Armstrong, Sandra
 3.    Babb, Joseph
 4.    Balady, Louis
 5.    Barbarin, Joy C.
 6.    Beal, Christopher
 7.    Bingiel, Alana
 8.    Bingiel, Joseph
 9.    Bingiel, Joseph & Alana
 10.   Birtcher, Danny
 11.   Blackwell, Hurshel Dwayne
 12.   Blackwell, Patricia
 13.   Broderick, Matthew
 14.   Brown, Emily
 15.   Padron, Eladio
 16.   Byram, Jimmie
 17.   Carey, Nancy
 18.   Carey, Robert
 19.   Carey, Robert & Nancy
 20.   Carpenter, Barbara
 21.   Carpenter, Michael
 22.   Chapman, Rita
 23.   Chidester, John D.
 24.   Coffey, Mary Jane
 25.   Collins, Bruce
 26.   Collins, Deborah
 27.   Colvin, James
 28.   Contella, Charles Joseph
 29.   Cooper, Glenda
 30.   Cooper, Glenda (Custodian for Lina Grace Assaad UGMA)
 31.   Cooper, Glenda (Custodian for Samuel Mark Assaad UGMA)
 32.   Harvey Living Trust (Glenda Cooper as Trustee)
 33.   Cooper, Thomas
 34.   Cotten, Bill & Nancy
 35.   Cumbest, Glenda (obo Joseph B. Cumbest, Sr., Deceased)
 36.   Cummings, Lucinda
 37.   Cummings, Terry
 38.   DeMars, Sandra (obo Larry Eugen DeMars, Deceased)
 39.   Dinsmore, Gerald
 40.   Dirks, Sherra
 41.   Douma, Paul



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 42.   DuKet, Thomas
 43.   Eccles, Stephen & Daryl
 44.   Evans, Donna
 45.   Evans, Robert
 46.   Falvo, Elaine M.
 47.   Falvo, III, Louis
 48.   Fisher, Warren
 49.   Funke, Henry & Diana
 50.   Gallina, Pamela
 51.   Gartenberg, Joel
 52.   Gillespie, Carolyn
 53.   Goldstein, Janet
 54.   Guion, DDS, H. Don
 55.   Halman, Douglas
 56.   Harris, Dennis
 57.   Hilliard, Robert J.
 58.   Hillman, Rebecca
 59.   Holland, Theresa
 60.   Hubbard, John
 61.   Hubbard, William Brent
 62.   Hutchinson, George
 63.   Hutchinson, Laura
 64.   Hutto, Don
 65.   Inglis, Lona
 66.   Inglis, Ronald
 67.   Ira M. Sabbagh Trust (Ira M. Sabbagh as Trustee)
 68.   Ivory Artists, Inc.
 69.   Jacobi, Richard & Anna
 70.   Jennings, Joe
 71.   Johnson, Clara
 72.   Johnson, Gary
 73.   Johnston, Ross
 74.   Jones, Henry & Nancy
 75.   Jones, Shana
 76.   Gerald Williams Jr & Shana Jones Rev. Living Trust (Gerald Williams, Jr. & Shana Jones
       as Trustees)
 77.   Jortner, DDS, Wayne
 78.   Joshi, Sanjay
 79.   Kanouse, Thomas J.
 80.   The Kaye Family Trust (Michael C. Kaye & Pamela S. Gerver-Kaye as Trustees)
 81.   Kellogg, Alan
 82.   Kitchen, Richard
 83.   Kohler, Janet
 84.   Kohler, Kirk



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 85.    Kovac, David L.
 86.    The George and Jacqueline Krabbe Family Trust (George & Jacqueline Krabbe as Trustees)
 87.    Krizman, James
 88.    Kwok, Don Chaen & Nguyen, Christine
 89.    Lair, Kelly
 90.    Lair, Peggy
 91.    Langhurst, Kathleen
 92.    Langhurst, Paula
 93.    Lilli, II, Joseph A.
 94.    Love, James
 95.    Love, James & Denise
 96.    Lunsford, Joanna
 97.    Lunsford, Ray & Joanna
 98.    Lutz, Carolyn
 99.    Lutz, Douglas C.
 100.   Lutz, Jr., Richard Paul
 101.   Marsters, Dorothy
 102.   Marsters, Judson
 103.   Marti, Thomas
 104.   Mathis, Charles
 105.   McClain, Todd
 106.   McClain, William Troy
 107.   McDermott, Helen Z.
 108.   McKinley, Albert
 109.   McKinley, Albert & Geneva
 110.   McKinley, Geneva
 111.   June McLaren Living Trust (William & June McLaren as Trustees)
 112.   William McLaren Living Trust (William & June McLaren as Trustees)
 113.   Ed E. McWilliams Revocable Trust (Ed & Nancy McWilliams as Trustees)
 114.   Mellado, Eduardo & Agueda
 115.   Mondeau, Adrienne
 116.   Morrow, Arthur
 117.   Morrow, Jennie
 118.   Morse, Terrance L.
 119.   Mucker, Matthew
 120.   Mulligan, Ashley
 121.   Mullins, Gary
 122.   Munger, Ann
 123.   Munger, Ann & Robert
 124.   Munger, Robert
 125.   Neal, Donna
 126.   Neal, Earl
 127.   Nelson, Jerry & Joan
 128.   Ninich, James Henry



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 129.   Nix & Nix Family, LP
 130.   Nolin, Wendy
 131.   O'Keefe, Mary
 132.   Ormsby, Jo
 133.   Parrott, Robyn
 134.   Patty, Kevin
 135.   Patty, Therese
 136.   Patty, Dayna
 137.   Patty, Melissa
 138.   Patty, Kevin & Therese
 139.   Pennel, Brock & Diana
 140.   Phillips, Hazel
 141.   Pippi, Augustine & Susan
 142.   Pirie, Glenda
 143.   Plumlee, Hubert
 144.   Polk, Charles & Marilyn
 145.   Polk, Marilyn
 146.   Poth, Konrad E.
 147.   Charles G. & Marjorie E. Quarnstrom Revoc. Living Trust (Faye Bagby as Trustee)
 148.   Quarnstrom, Charles & Marjorie
 149.   Raisinghani, Mahesh
 150.   Reader, Jamieson & Misti
 151.   Recker, Janet
 152.   Recker, Steven
 153.   Redden, Jr., Jim
 154.   Reynolds, Charles
 155.   Rice, Dennis
 156.   Richardson, II, Louis D.
 157.   Rivard, William
 158.   Roddy, Joe
 159.   Rose-McDaniel, Deborah
 160.   Sachanko, Susan B.
 161.   Sanders, Brandon
 162.   Sanderson, Michael
 163.   Sandoval, Ana
 164.   Sandoval, Will
 165.   Sandoval, Will & Ana
 166.   Sauceda, Linda
 167.   Schwab, III, Carl F.
 168.   Schwab, John
 169.   See, Bud S.
 170.   Sekely, Erick
 171.   Sherriff Family, LLC
 172.   Shiring, Robert



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 173.   Simms, Leigh B.
 174.   Smith, Charles E.
 175.   Smith-Conner, Sandra
 176.   Somerset Partners Strategic Asset (Whitmire, David)
 177.   Stagner, Cathy M.
 178.   Stark, Michael P.
 179.   The Stelmak Family Trust (Robert & Judith Stelmak as Trustees)
 180.   Stelmak, Robert
 181.   Stephan, David A.
 182.   Steuben, Marilyn
 183.   Storey, Debbie T.
 184.   Tallhammer, Bela
 185.   Tucker, Alan
 186.   Vorheis, Jerry
 187.   Richard & Judy Walker Family Trust (Richard & Judy Walker as Trustees)
 188.   Walker, Van
 189.   Warner, Wanda
 190.   Weddel, Elmer
 191.   White, Howard
 192.   Whitehurst, Robert
 193.   Whitmire, David
 194.   Williams, Thomas G.
 195.   Willingham, John
 196.   Wilson, Darlene
 197.   Woelfel, John
 198.   Wohleb, Clifford
 199.   Wohleb, Clifford & Jennes
 200.   Wood, Daniel
 201.   Wood, Sharon
 202.   Zagar, Amy
 203.   Zagar, Keith
 204.   Zanoni, Muriel M.




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